                EXHIBIT D




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                                               U.S. Department of Justice
                                               Civil Division, Federal Programs Branch




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                                                       January 27, 2023

Philip Andonian
1100 H Street, N.W., Suite 315
Washington, D.C. 20005

        Re:      Strickland v. United States, No. 20-66 (W.D.N.C.)

Dear Mr. Andonian:

        I’m writing to let you know that Defendants’ third document production (bates stamped
US00001238 to US00004010) is now available to download. Please log in to the Box website to
access the production. Certain of the documents have been designated as confidential under the
Court’s protective order and are marked accordingly. Defendants are continuing to process some
additional documents and expect to make one final document production.

        During Defendants’ document review, we identified a single PDF document that appears
to contain all emails from the Federal Defender’s Office between Mr. Davis and Ms. Strickland
dated on or before July 26, 2018. It is our understanding that this document was among the
materials that Mr. Davis provided to Heather Beam in connection with her investigation into Ms.
Strickland’s Employment Dispute Resolution claims. The document is 2,172 pages long and
contains numerous case-related emails, and therefore would require extensive redactions of such
information before it could be produced in this litigation. As Ms. Strickland has herself recognized
regarding “emails from her FDO work account,” “the vast majority of any such emails would
pertain to privileged client matters that have no relation to this action.” Pl’s Obj. & Resp. to Defs’
First Set of Req. for Prod. at 8 (noting that such emails “are not reasonably likely to lead to relevant
or admissible information”). In addition, considering that Ms. Strickland has already seen the
emails contained in this document, there is no need for Defendants to produce the document to
her, particularly because Defendants are separately producing relevant, unprivileged emails
between Mr. Davis and Ms. Strickland. Defendants therefore object to production of the document
containing the case-related information on privilege, burden, and relevance grounds.

        If you have any questions, please let me know.

                                                       Sincerely,

                                                       /s/ Joshua Kolsky

                                                       Joshua Kolsky



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